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                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                     IN THE UNITED STATES DISTRICT COURT                    September 30, 2021
                     FOR THE SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk
                              HOUSTON DIVISION



JANNAH ALAOUI,                             §
                                           §
                     Plaintiff,            §
                                           §
v.                                         §       CIVIL ACTION NO. H 21-2549
                                           §
UNIVERSITY OF TEXAS HEALTH                 §
SCIENCE CENTER AT HOUSTON,                 §
                                           §
                     Defendant.            §



                        MEMORANDUM OPINION AND ORDER


      On August    6, 2 021,   Jannah Alaoui ("Plaintiff") filed Plaintiff

Jannah Alaoui's Original Complaint and Jury Demand                   ("Complaint"),

bringing claims of disability discrimination and retaliation in

violation of the Americans with Disabilities Act of 1990 ("AbA")

and of retaliation for requesting and taking protected leave under

the   Family   and     Medical    Leave    Act    ("FMLA")     against     defendant

University      of     Texas      Health       Science      Center    at       Houston

("Defendant"). 1        Defendant    has       moved   to   dismiss    Plaintiff's

Complaint as barred by the Eleventh Amendment. 2                 For the reasons

explained below, Defendant's Motion will be granted.


      Complaint, Docket Entry No. 1, p. 1.
      1
                                                  For purposes of
identification all page numbers reference the pagination imprinted
at the top of the page by the court's Electronic Case Filing
("ECF") system.
        fendant University of Texas Health Science Center at
Houston's Motion to Dismiss Plaintiff's Complaint ("Defendant's
Motion"), Docket Entry No. 13, p. 1.
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                            I.     Facts and Procedural Background

        Plaintiff began working as a Certified Nurse Midwife for
Defendant on August 4, 2015. 3                        In 2019 Plaintiff was diagnosed with
ankylosing spondylitis, chronic inflammation of the ligaments of
her spine. 4                Plaintiff           had    to    take   pain      medication and    an
immunosuppressant medication to treat her condition. 5                                  By early
2019       Plaintiff         had informed her                 supervisor       that she had an
autoimmune condition and would need to take multiple days off for
treatment. 6           Plaintiff has also suffered from asthma from birth. 7
Because of her health conditions and the                                      COVID-19 pandemic,
Plaintiff asked Defendant if she could work from home and practice
telemedicine. 8             Plaintiff contends that Defendant violated the ADA
by     (1)       failing          to     reasonably          accommodate       her   request   and
(2)    terminating Plaintiff in retaliation when she complained that
she was being discriminated against. 9
       On or about June 26, 2020, Plaintiff requested leave under the
FMLA for surgery, and Defendant approved her request to take six


       3
           Complaint, Docket Entry No. 1, p. 2                       1   7.
       4
           Id.   1    13.
       5
           Id. at 2-3        11        14-15.

                 11    10, 16.
       7
           Id. at 3     1        17.
       8
           Id.   11    19-22.
       9
           Id. at 9-10           11     87, 93.
                                                       -2-
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weeks of leave for the surgery and recovery. 10                    Plaintiff states

that she had surgery on July 9, 2020, and that she received written
notice the next day informing her that her position was being
eliminated. 11              Plaintiff        contends   that   Defendant's   actions
constitute unlawful retaliation in violation of the FMLA. 12
      Plaintiff alleges that "Defendant                          is a governmental
subdivision and state entity operated as part of the University of

Texas System. " 13
     On September 7,               2021,    Defendant filed the pending motion to
dismiss Plaintiff's Complaint. 14 Plaintiff has not filed a response.


                                           II.   Analysis

     Defendant argues that Plaintiff's claims "are wholly barred by
Eleventh Amendment immunity. 1115

A.   The Eleventh Amendment Is a Jurisdictional Bar

      Federal Rule of Civil Procedure 12(b) (1) governs motions to

dismiss for lack of subject-matter jurisdiction.                        "A case is


     10
          Id. at 7      1   65.
     11
          Id.   11   66 69.
                at 10   1    99.


     14
          Defendant's Motion, Docket Entry No. 13.
          at 1 (citing Sullivan v. Texas A&M University System, 986
F.3d 593, 596 n.1 (5th Cir. 2021) ("By its terms, the [Eleventh]
Amendment does not apply         where a citizen sues his own State
(or an agency of that State). Still, the Supreme Court has often
used 'Eleventh Amendment immunity' as a synonym for the States'
broader constitutional sovereign immunity.,, (citations omitted)).
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properly dismissed for lack of subject matter jurisdiction when the

court lacks the statutory or constitutional power to adjudicate the
case. 11       Hooks v. Landmark Industries, Inc., 797 F.3d 309, 312 (5th
Cir. 2015) (internal quotations and citation omitted). "The burden
of proof for a Rule 12(b)(1) motion to dismiss is on the party
asserting jurisdiction. 11         Ramming v. United States, 281 F.3d 158,
161 (5th Cir. 2001).           "Accordingly, the plaintiff constantly bears
the burden of proof that jurisdiction does in fact exist. 11                Id.
"Lack of subject matter jurisdiction may be found .in any one of

three instances:          (1) the complaint alone;         ( 2) the complaint

supplemented by undisputed facts evidenced in the record;                    or
(3) the complaint supplemented by undisputed facts plus the court's
resolution of disputed facts."            Id.   "If the court determines at
any time that it lacks subject-matter jurisdiction, the court must
dismiss the action."           Fed. R. Civ. P. 12(h)(3).
      Eleventh Amendment immunity is a jurisdictional bar.                  See
United States v. Texas Tech University, 171 F.3d 279, 285 (5th Cir.
1999) ( "While often noted for preserving state sovereignty, the
[Eleventh]         Amendment     only   accomplishes   this     end   through
jurisdictional limitation.").             The Eleventh Amendment of the
United States Constitution bars suits in federal court against a
state or one of its agencies, regardless of the relief requested,
by its own citizens or citizens of other states.              Pennhurst State
School     &   Hospital v. Halderman, 104 S. Ct. 900, 908 (1984).     Absent
a valid waiver of immunity,             Defendant is entitled to Eleventh

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Amendment immunity.          See Duncan v. University of Texas Health
Science Center at Houston, 469 F. App 1 x 364, 366 (5th Cir. 2012)
("As a public university, UTHealth enjoys the state 1 s sovereign
immunity.").      To determine whether Congress intended to abrogate a
state's Eleventh Amendment immunity by statute, the court must
determine "first,       whether Congress unequivocally expressed its

intent to abrogate that immunity; and second, if it did, whether
Congress     acted   pursuant    to   a     valid   grant    of   constitutional
authority. 1 1
                 Kimel v. Florida Board of Regents, 120 S. Ct. 631, 640
(2000).

B.   Plaintiff's       ADA   Claims   Are      Barred   By   Eleventh Amendment
     Immunity

     Plaintiff brings employment discrimination and retaliation
claims against Defendant pursuant to Title I of the ADA, 42 U.S.C.

§ 12111,     et seq., as amended. 16           Title I of the ADA prohibits

covered     entities    from    "discriminat[ing]        against    a    qualified
individual on the basis of disability in regard to job application
procedures, the hiring, advancement, or discharge of employees,
employee compensation, job training, and other terms, conditions,
and privileges of employment." 42 U.S.C. § 12112(a).                    "Title I of
the ADA does not validly abrogate the states' sovereign immunity,
meaning that Title I claims cannot be heard by the federal courts."
Mora v.      University of Texas Southwestern Medical Center,                  469
F. App'x 295, 296 (5th Cir. 2012); see also Board of Trustees of

     16
          Complaint, Docket Entry No. 1, pp. 9-10 ,, 86-97.
                                          5-
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the University of Alabama v. Garrett, 121 S. Ct. 955, 960 (2001)

(holding that a suit for "money damages by reason of the State's
failure to comply with the provisions of Title I of the [ADA]" is
"barred by the Eleventh Amendment").

       The State of Texas has not waived its immunity from suit with
respect to the ADA.               Perez v. Region 20 Education Service
Center,     307 F.3d 318,      332 (5th Cir.      2002) ("The Texas Labor
Code             does not contain a clear and unequivocal waiver of
immunity from suit with respect to the ADA, a distinct federal
statute."). "Therefore, [UT Health] has Eleventh Amendment immunity
from ADA discrimination suits."              See Shabazz v. Texas Youth
Commission, 300 F. Supp. 2d 467, 472 (N.D. Tex. 2003).               Lacking a
valid waiver, Plaintiff's ADA claims against Defendant are barred
by the Eleventh Amendment and must be dismissed for lack of
subject-matter jurisdiction.


C.     Plaintiff's FMLA Retaliation Claims Are Barred By Eleventh
       Amendment Immunity

       Plaintiff also brings a retaliation claim stemming from her
use of FMLA leave for surgery. 17            The FMLA guarantees eligible
employees twelve workweeks of leave during any twelve-month period
"[b]ecause of a serious health condition that makes the employee
unable to perform the function of the position of such employee."
29 U.S.C. § 2612(a)(1)(D).          However, Eleventh Amendment immunity


      Complaint, Docket Entry No. 1, p. 7
       17                                             11   63, 65; pp. 10-11
,, 98-102.
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bars "self-care" claims brought under this provision.                        Nelson v.

University of Texas at Dallas, 535 F.3d 318, 321 (5th Cir. 2008);
Coleman v. Court of Appeals of Maryland, 132 S. Ct. 1327, 1338
(2012).    Eleventh Amendment immunity also bars retaliation claims
stemming from a plaintiff allegedly "exercising [his] rights to
personal    medical     leave      under      §    2612 (a) (1) (D). "      Solley     v.

Big   Spring    State   Hospital,       No.       Civ.    A.   l:03-CV-094-C,        2004
WL 1553423,     at *4     (N. D.    Tex.    2004);       Alfred v.       Harris County
Hospital District, 666 F. App'x 349, 352 (5th Cir. 2016) ("a state
enjoys    sovereign     immunity      from        suit   for   an   FMLA    claim    for
retaliation based on the self-care provision").                          As a result,
Plaintiff's FMLA claims are barred by sovereign immunity and must
be dismissed for lack of subject-matter jurisdiction.


                        III.       Conclusion and Order

      For the reasons explained above, the court concludes that it
lacks subject-matter jurisdiction over this action.                       Accordingly,
Defendant University of Texas Health Science Center at Houston's
Motion to Dismiss Plaintiff 1 s Complaint (Docket Entry No. 13) is

GRANTED, and this action will be dismissed without prejudice.

      SIGNED at Houston, Texas, on this 30th day of September, 2021.




                                       SENIOR UNITED STATES DISTRICT JUDGE


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